Case 3:17-cv-05820-PGS-TJB Document 13 Filed 03/26/18 Page 1 of 2 PageID: 61



                IN THE UNITED STATES DISTRICT COURT FOR
                       THE DISTRICT OF NEW JERSEY
____________________________________
                                     :
LAURA H. LIENECK                     :
                                     :
      and                            :
                                     :
ROBIN OSTROWSKI                      :
                        Plaintiffs,  :
      v.                             : CIVIL ACTION NO. 17-5820
                                     :
MONMOUTH COUNTY PARK                 :
SYSTEM                               :
                                     :
      and                            :
                                     :
COUNTY OF MONMOUTH                   :
                        Defendants. :
____________________________________:

                                 ENTRY OF APPEARANCE

TO THE CLERK:

       Kindly enter the appearance of Daniel S. Orlow, Esquire, on behalf of the Plaintiffs, Laura

Lieneck and Robin Ostrowski, in the above-captioned matter.


                                                    Respectfully submitted,

                                                    CONSOLE MATTIACCI LAW, LLC

                                            By:     /s/ Daniel S. Orlow
                                                    Daniel S. Orlow, Esq.
                                                    110 Marter Avenue, Suite 502
                                                    Moorestown, NJ 08057
                                                    Phone: (856) 854-4000
                                                    Direct Fax: (215) 689-2110
                                                    orlow@consolelaw.com

                                                    Attorneys for Plaintiffs
Dated: 3/26/2018                                    Laura Lieneck and Robin Ostroswki
Case 3:17-cv-05820-PGS-TJB Document 13 Filed 03/26/18 Page 2 of 2 PageID: 62



                              CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of March, 2018, I caused the foregoing Entry of

Appearance to be sent via ECF to counsel for Defendants below:

                              Paul L. LaSalle, Esquire
                      CLEARY GIACOBBE ALFIERI JACOBS, LLC
                                  5 Ravine Drive
                                   P.O. Box 533
                                Matawan, NJ 07747

                                   Attorney for Defendants


                                                  CONSOLE MATTIACCI LAW, LLC

                                           By:    /s/ Daniel S. Orlow
                                                  Daniel S. Orlow, Esq.
                                                  110 Marter Avenue, Suite 502
                                                  Moorestown, NJ 08057
                                                  Phone: (856) 854-4000
                                                  Direct Fax: (215) 689-2110
                                                  orlow@consolelaw.com

                                                  Attorneys for Plaintiffs
Dated: 3/26/2018                                  Laura Lieneck and Robin Ostroswki
